     Case 3:17-cv-02641-AET Document 5 Filed 07/10/17 Page 1 of 7 PageID: 66



                  IR THE UNITED STATES DISTRICT coUR.!1              E C E I V E         D
                                    FOR
                             THE THIRD CIRCUIT
                                                                      JUL 10 2017
                                                                 AT B:3o
                                                                    WILLJAM T. wAISH-M
                                                                         CLERK
UNITED STATES OF AMERICA                  *

v.                                         *   Civil No. 3:17.-cv-02641 (MLC)
                                               Crim. No. 3:12-cr-204-01(MLC)

C. TATE GEORGE                             *
                  Petitioner

                                    *      *     *
               PETITIONER'S RESPONSE TO JUDICIAL NOTICE
                 DATED June 28, 2017 (WITH AFFIDAVIT)


            NOW COMES the Petitioner            c.   Tate George, pro se, and

hereby responds to the Judicial Notice dated Jtine 28, 2017 in

reference to his Motion filed pursuant to 28                u.s.c.   Section 2255

on April 10, 2017, and states the following:

                                    AFFIDAVIT


            I HEREBY CERTIFY that the following facts are true and

correct to the best of my knowledge and belief upon pain of perjury

under 28 U.S.C. Section 1746:

            1. The affiant,    c.       Tate George, states that he received

the foremehtioned Judicial Notice dated June 28, 2017 on July 5, 2017

in the inmate mail delivery made on this same date at FCI Fort Dix,

Satellite Camp, Box 2000, Joint Base MDL, NJ 08640-5433. (a copy of

the front envelope from the Clerk's Office is attached).

                                               -1-
   Case 3:17-cv-02641-AET Document 5 Filed 07/10/17 Page 2 of 7 PageID: 67




           2. The sAid·:Notice t6 Petitioner states that this Court

issued a Memorandum and Order on May 1, 2017 which order administra-

tively terminated and closed this action. Petitioner hereby states

that as a matter of fact, he never received such an order nor did

he received the required current form for a Section 2255 motion.

           3. The said Notice to Petitioner also states that the

Clerk of the Court was directed to mail a second        bl~pk   copy of form

AO 243 (modified) with the subject JtidibiAl Order date June 28, 2017.

Petitioner hereby also states that       h~   never received the second blank

copy   along with said notice.

           4. As of the date of Petitioner's receipt of the Notice

dated June 28, 2017 (July 5,     201~,   he contends that this is the first

notice of the necessity to file the form         AO 243 (modified).

           5. In order to comply with filing form AO 243,         P~titioner

has no option but to request such a form as of tqday's date in order

to comply with the 30-day deadline on July 28, 2017.

           WHEREFORE, the Petitioner, C. Tate George, pro se, requests

that this Honorable Court send him the form AO 243 immediately, and

that he hereby notifies the Court of his intent to RE-OPEN the above-

captioned matter.

DATED: July 5, 2017


                                                  • Tate Geo
                                                  CI Fort Di
                                                 Federal Correctional Instit.
                                                 Box 2000
                                                 Joint Base MDL, NJ 08640-5433

Attachments


                                         -2-
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      Notices
      3:17-cv-02641-MLC GEORGE v.
      UNITED STATES OF AMERICA
      CASE CLOSED on 05/01/2017

      ADMCLOSED, HABEAS, PLO


                                                  U.S. District Court

                                            District of New Jersey [LIVE]

      Notice of Electronic Filing

      The following transaction was entered on 6/28/2017 at 4:17 PM EDT and filed on 6/28/2017
      Case Name:           GEORGE v. UNITED STATES OF AMERICA
      Case Number:         3:17-cv-02641-MLC
      Filer:
      WARNING: CASE CLOSED on 05/01/2017
      Document Number: 4

      Docket Text:
      JUDICIAL NOTICE TO PETITIONER C. TATE GEORGE. Signed by Judge Maryl. Cooper
      on 6/28/2017.(km)


      3:17-cv-02641-MLC Notice has been electronically mailed to:

      FABIANA PIERRE-LOUIS             fabiana. pierre-louis@usdoj.gov, usanj .ecfcriminaldocketing@usdoj.gov

      3:17-cv-02641-MLC Notice will not be electronically mailed to::

      C. TATE GEORGE
      63223-050
      FCIFORTDIX
      BOX 2000
      JOINT BASE MDL, NJ 08640-5433

      The following document( s) are associated with this transaction:

      Document description:Main Document
      Original filename:n/a
      Electronic document Stamp:
      [STAMP dcecfStamp_ID=1046708974 [Date=6/28/2017] [FileNumber=10299930-
      0] [917clb321b79d4de0d2cfecbc19f7d6fb73ed56ebcb4e02a0blbae2af29f74f7af
      348267df8f0c73al baf32a6d7 4b92d07 6b3 f070d2bc6be6f696f90bbfe6dfl ]]




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·11.     Case 3:17-cv-02641-AET Document 5 Filed 07/10/17 Page 5 of 7 PageID: 70




                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


       C. TATE GEORGE,                                   Civil Action No. 17-2641 (MLC)

              Petitioner,
                                                           NOTICE TO PETITIONER
              v.

       UNITED STATES OF AMERICA,

              Respondent.


              Petitioner filed a pleading on April 18, 2017, styled as a Motion under 28 U.S.C.

       § 2255 ("the original pleading"). That pleading~ filed as docket entry number 1,

       commenced this action on the civil docket of this Court.

              Thereafter,. this Court issued a Memorandum and Order on May 1, 2017, filed as

       docket entry number 2 ("the 5-1-17 Order"). The 5-1-17 Order administratively

       terminated and closed this action, and it remains closed as of this date.

              As explained in the 5-1-17 Order, the original pleading was not on the required

       current form for a Motion under 28 U.S.C. § 2255 to be filed in this Court. Therefore, the

       original pleading was rejected pursuant to Local Civil Rule 81.2(a).

              The docket shows that on May 1, 2017, the Clerk of the Court mailed a copy of the

       5-1-17 Order to Petitioner by U.S. Postal Service, at his correct address of record at FCI

       Fort Dix.




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   Case 3:17-cv-02641-AET Document 5 Filed 07/10/17 Page 6 of 7 PageID: 71



      . The docket further shows that the Clerk of the Court included in that mailing to

Petitioner on May 1, 2017, a blank copy of the required current motion form AO 243

(modified): DNJ-Habeas-004 (Rev. 01-2014).

       The 5-1-17 Order stated that if Petitioner wished to reopen this case, he had 30

days to file a complete, signed new motion on the appropriate form. No response to that

Order was received from Petitioner within that 30-day period, and the action remains

closed on this date.

       On June 16, 2017, the Court received from Petitioner a "Motion to Attach Exhibit

to Pending Petition Pursuant to 28 U.S.C. Section 2255." That document has been

docketed at docket entry number 3 in this action, but it does not serve to rnopen this

action. The Court will not act on that document unless and until this action is reopened.

       If Petitioner wishes to reopen this action, he is hereby NOTIFIED that he may file

a complete, signed Motion under 28 U.S.C. § 2255 within 30 days of the date of this

Notice. That Motion must be on the required current motion form AO 243 (modified):

DNJ-Habeas-004 (Rev. 01-2014).

       The Clerk of the Court is hereby directed to mail a copy of this Notice to

Petitioner, along with another blank copy of form AO 243 (modified): DNJ-Habeas-004

(Rev. 01-2014), to Petitioner at his address of record at FCI Fort Dix.

       SO ORDERED, this            28th       day of June, 2017.


                                                           s/ Mru:y L. Cooper
                                                         MARYL. COOPER
                                                         United States District Judge
                                                                                                                         SS
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~/Ir.   c.
       'I c\t.e George
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